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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     PATRICK CALHOUN, et al.,                           Case No. 20-cv-05146-YGR (SVK)
                                   8                    Plaintiffs,
                                                                                            ORDER ON LIMITED REMAND OF
                                   9             v.                                         ISSUE RE SCOPE OF SUMMARY
                                                                                            JUDGMENT ORDER
                                  10     GOOGLE LLC,
                                                                                            Re: Dkt. No. 1005
                                  11                    Defendant.

                                  12          The Parties are directed to meet and confer on a briefing schedule for the remanded issue
Northern District of California
 United States District Court




                                  13   regarding the scope of the summary judgment order. See Dkt. 1005. The Parties shall submit a

                                  14   joint proposed briefing schedule to the District Judge no later than April 12, 2023.

                                  15          SO ORDERED.

                                  16   Dated: April 4, 2023

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                                                                                                    SUSAN VAN KEULEN
                                  19                                                                United States Magistrate Judge
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